Case 1:11-cv-00673-DDD-JDK Document 8 Filed 05/13/11 Page 1 of 2 PageID #: 55




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION

MARVIN W. STROZIER, ET AL.                                   CASE NO.       1:11CV0673

v.                                                           JUDGE DRELL

KEPCO ENERGY, INC. AND                                       MAG. JUDGE KIRK
CITIZENS BANK

                                 NOTICE OF SETTLEMENT

       NOW INTO COURT, through undersigned counsel, comes defendant CITIZENS BANK,

which respectfully informs this Court that parties hereto have a reached a settlement of this case.

       ACCORDINGLY, defendant CITIZENS BANK requests the entry of “Ninety Day Order”

or other appropriate order staying the resolution of plaintiffs’ Motion to Remand and all other

matters in this case until the parties can consummate their settlement agreement.

                                     AYRES, WARREN, SHELTON & WILLIAMS, L.L.C.



                                     By:   /s/ J. Todd Benson
                                             Curtis R. Shelton #17137 (T.A.)
                                             J. Todd Benson #23648
                                     333 Texas Street, Suite 1400
                                     P. O. Box 1764 (71166-1764)
                                     Shreveport, LA 71101
                                     Telephone: (318) 227-3500
                                     Facsimile: (318) 277-3980
                                     Email: curtisshelton@awsw-law.com
                                             toddbenson@awsw-law.com

                                     ATTORNEYS FOR CITIZENS BANK
Case 1:11-cv-00673-DDD-JDK Document 8 Filed 05/13/11 Page 2 of 2 PageID #: 56



                                       CERTIFICATE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served by placing a

copy of same in the United States Mail, properly addressed and with adequate postage affixed

thereon to:

       Mr. James E. Mixon
       Mixon & Carroll, PLC
       P.O. Drawer 1619
       Columbia, LA 71418.

       Shreveport, Louisiana, this 13th day of May, 2011.


                                  /s/ J. Todd Benson
                                          OF COUNSEL




                                              -2-
